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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF
PENNSYLVANIA, PENNSYLVANIA                   CASE NO. 1:12-CV-1567
GAME COMMISSION,
                                             Hon. Christopher C. Conner
             Plaintiff,                      United States District Judge

v.                                           Hon. Susan E. Schwab
                                             United States Magistrate Judge
THOMAS E. PROCTOR HEIRS
TRUST and the MARGARET
PROCTOR TRUST,

             Defendants.

 DEFENDANTS’ AMENDED ANSWER AND AFFIRMATIVE DEFENSES
 TO THE SECOND AMENDED COMPLAINT WITH COUNTERCLAIMS

             Defendants Charles Rice Kendall and Ann P. Hochberg, Trustees of

the Thomas E. Proctor Heirs Trust, and Bank of America, N.A. and John J.

Slocum, Jr., Trustees of the Margaret O.F. Proctor Trust (collectively the “Proctor

Trusts”), for their Amended Answer and Affirmative Defenses to the Second

Amended Complaint (“Complaint”) of Commonwealth of Pennsylvania,

Pennsylvania Game Commission (“Game Commission”) and Counterclaims, state

the following:

                                    The Parties

      1.     The Proctor Trusts admits that the Commonwealth of Pennsylvania,

Pennsylvania Game Commission has initiated this lawsuit. After reasonable


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investigation, the Proctor Trusts are without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 1 and they

therefore are denied.

      2.     Admitted in part and denied in part. It is admitted that the Proctor

Heirs Trust (the “PHT”) holds a 15/16 or 93.75% interest in the subsurface estate,

right and interests reserved by Thomas E. Proctor, Sr. and Emma H. Proctor and

also specifically conveyed to Emma H. Proctor and her heirs (“the Proctor

Subsurface Estate”) for the benefit of certain heirs of Thomas E. Proctor, Sr. and

Emma H. Proctor. It is further admitted that the Margaret O.F. Proctor Trust (the

“MPT”) holds a 1/16 or 6.25% interest in the Proctor Subsurface Estate for the

benefit of certain heirs of Thomas E. Proctor, Sr. and Emma H. Proctor. The

Proctor Trusts believe, assert, and in fact, do, collectively hold 100% of the Proctor

Subsurface Estate for the benefit of the heirs of Thomas E. Proctor, Sr. and Emma

H. Proctor. The MPT denies that its mailing address is c/o McGuireWoods LLP,

EQT Plaza, 625 Liberty Avenue, 23rd Floor, Pittsburgh, Pennsylvania, 15222-

3142. After reasonable investigation, the Proctor Trusts are without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 2 and they therefore are denied.




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                                     Jurisdiction

      3.     Admitted in part and denied in part. The Proctor Trusts admit: (1) that

the Proctor Trusts were formed under the laws of Massachusetts and (2) that none

of the Proctor Trusts’ beneficiaries are Pennsylvania citizens. By way of further

response, none of the Proctor Trusts’ trustees – the entities whose citizenship is in

fact relevant to the existence of federal jurisdiction – are Pennsylvania citizens, but

instead are citizens of Maine, Massachusetts, Rhode Island and North Carolina.

After reasonable investigation, the Proctor Trusts are without knowledge or

information sufficient to form a belief as to the truth of the remaining factual

allegations of this Paragraph and they therefore are denied. The remaining

allegations in Paragraph 3 are legal conclusions, to which no response is required.

To the extent a response is required, the Proctor Trusts admit that this Court has

jurisdiction over the parties’ dispute, but denies any remaining allegations

contained in Paragraph 3.

                                  Applicable Law

      4.     The Proctor Trusts admit only that the dispute set forth in the

Complaint involves title to real property located in Sullivan County, Pennsylvania.

The remaining allegations in Paragraph 4 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the remaining allegations in Paragraph 4.


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                                    The Premises

      5.     Admitted upon information and belief.

      6.     The allegations in Paragraph 6 are characterizations of written

documents, the terms of which speak for themselves, and the Proctor Trusts deny

as stated any allegations that are inconsistent with the text of the documents, or that

are rendered inaccurate, incomplete or misleading based on a reading of the

complete text of the documents.

      7.     The allegations in Paragraph 7 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 7. Furthermore, the allegations in Paragraph 7 are

characterizations of written documents, the terms of which speak for themselves,

and the Proctor Trusts deny as stated any allegations that are inconsistent with the

text of the documents, or that are rendered inaccurate, incomplete or misleading

based on a reading of the complete text of the documents. The Proctor Trusts

specifically deny that the Game Commission acquired the Proctor Subsurface

Estate in the property at issue.

      8.     After reasonable investigation, the Proctor Trusts are without

knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 8, and they therefore are denied.




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                                     The Titles

      9.     The allegations in Paragraph 9 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 9. Furthermore, the allegations in Paragraph 9 are

characterizations of written documents, the terms of which speak for themselves,

and the Proctor Trusts deny as stated any allegations that are inconsistent with the

text of the documents, or that are rendered inaccurate, incomplete or misleading

based on a reading of the complete text of the documents. The Proctor Trusts

specifically deny that the Game Commission acquired the Proctor Subsurface

Estate in the property at issue.

      10.    The allegations in Paragraph 10 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 10. The Proctor Trusts specifically deny that the

Game Commission acquired the Proctor Subsurface Estate in the property at issue.

      11.    The allegations in Paragraph 11 and each of its subparts are legal

conclusions, to which no response is required. To the extent a response is required,

the Proctor Trusts deny the allegations in Paragraph 11. Furthermore, the

allegations in Paragraph 11 are characterizations of written documents, the terms

of which speak for themselves, and the Proctor Trusts deny as stated any

allegations that are inconsistent with the text of the documents, or that are rendered


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inaccurate, incomplete or misleading based on a reading of the complete text of the

documents.

      12.    The allegations in Paragraph 12 and each of its subparts are legal

conclusions to which no response is required. To the extent a response is required,

the Proctor Trusts deny the allegations in Paragraph 12. Furthermore, the

allegations in Paragraph 12 are characterizations of written documents, the terms

of which speak for themselves, and the Proctor Trusts deny as stated any

allegations that are inconsistent with the text of the documents, or that are rendered

inaccurate, incomplete or misleading based on a reading of the complete text of the

documents. By way of further response, The Proctor Trusts specifically deny that

the tax deeds resulting from the 1908 tax sales conveyed any right, title or interest

in or to the Proctor Subsurface Estate in the property at issue.

      13.    The allegations in Paragraph 13 are legal conclusions, to which no

response is required. To the extent that a response is necessary, the Proctor Trusts

deny the allegations in Paragraph 13. Furthermore, the allegations in Paragraph 13

are characterizations of a written document, the terms of which speak for

themselves, and the Proctor Trusts deny as stated any allegations that are

inconsistent with the text of the document, or that are rendered inaccurate,

incomplete or misleading based on a reading of the complete text of the document.

By way of further response, The Proctor Trusts specifically deny that the


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referenced deed conveyed any right, title or interest in or to the Proctor Subsurface

Estate in the property at issue.

      14.    The allegations in Paragraph 14 are characterizations of a written

document, the terms of which speak for themselves, and the Proctor Trusts deny as

stated any allegations that are inconsistent with the text of the document, or that are

rendered inaccurate, incomplete or misleading based on a reading of the complete

text of the document.

      15.    The allegations in Paragraph 15 are characterizations of a written

document, the terms of which speak for themselves, and the Proctor Trusts deny as

stated any allegations that are inconsistent with the text of the document, or that are

rendered inaccurate, incomplete or misleading based on a reading of the complete

text of the document.

      16.    The allegations in Paragraph 16 are characterizations of a written

document, the terms of which speak for themselves, and the Proctor Trusts deny as

stated any allegations that are inconsistent with the text of the document, or that are

rendered inaccurate, incomplete or misleading based on a reading of the complete

text of the document. By way of further answer, the PHT owns and holds title to

93.75% of the Proctor Subsurface Estate in the property at issue, while the MPT

owns and holds title to 6.25% of the Proctor Subsurface Estate.




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      17.    The allegations in Paragraph 17 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 17. By way of further answer, upon information and

belief, the appropriate taxing authorities were notified and/or aware of the Proctor

Subsurface Estate, but no basis to assess the severed Proctor Subsurface Estate

existed as no oil, gas or minerals were being produced under or in the neighboring

vicinity of the property at issue. Responding further, upon information and belief,

Thomas E. Proctor, Sr. and Emma H. Proctor and/or their assigns, agents or heirs,

notified the appropriate authorities of and registered their property in accordance

with all applicable laws and paid any and all assessed taxes.

      18.    The allegations in Paragraph 18 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 18.

      19.    The allegations in Paragraph 19 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 19.

      20.    The allegations in Paragraph 20 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 20.




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      21.    The allegations in Paragraph 21 are legal conclusions, to which no

response is required. To the extent a response is required, after reasonable

investigation, the Proctor Trusts are without knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 21, and they therefore

are denied. By way of further response, The Proctor Trusts specifically deny that

the tax deeds resulting from the 1908 tax sales conveyed any right, title or interest

in or to the Proctor Subsurface Estate in the property at issue.

      22.    The Proctor Trusts deny the allegations of Paragraph 22.

      23.    The allegations in Paragraph 23 are legal conclusions, to which no

response is required. To the extent a response is required, the Proctor Trusts deny

the allegations in Paragraph 23.

      24.    Admitted in part and denied in part. The Proctor Trusts admit that

they have and are asserting the right, title and interest in the Proctor Subsurface

Estate. It is admitted that the Proctor Subsurface Estate in the properties at issue,

in whole or in part, has been leased to third parties. The Proctor Trusts expressly

deny any implication that they do not hold the right, title and interest in the Proctor

Subsurface Estate in the properties at issue. The Proctor Trusts further deny any

implication that they do not have the ability or right to lease, convey, or otherwise

alienate the Proctor Subsurface Estate in the properties at issue.




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                            AFFIRMATIVE DEFENSES

               Without conceding any applicable burden of proof, the Proctor Trusts

allege the following as defenses to the claims in the Second Amended Complaint:

         25.   The Second Amended Complaint fails to state a claim upon which

relief can be granted.

         26.   The Game Commission fails to establish prima facie title to the

Proctor Subsurface Estate in the properties at issue.

         27.   The claims asserted in the Second Amended Complaint are barred by

the doctrine of estoppel.

         28.   The claims asserted in the Second Amended Complaint are barred by

the doctrine of laches.

         29.   The claims asserted in the Second Amended Complaint are barred by

the doctrine of waiver.

         30.   The MPT and the PHT hold 100% title, right and interest in and to the

oil, gas and minerals, known as the Proctor Subsurface Estate, in the properties at

issue.

         31.   The alleged 1908 tax sales and 1908 treasurer’s deeds did not divest

the heirs of Thomas E. and Emma H. Proctor of their ownership of and title to the

Proctor Subsurface Estate in the properties at issue.




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      32.     The alleged 1908 tax sales and 1908 treasurer’s deeds did not include

the Proctor Subsurface Estate, as the Proctor Subsurface Estate was severed from

the surface estate approximately 14 years before the purported tax sales and

treasurer’s deeds, and as such, only the surface estate was assessed and sold.

      33.     Sullivan County only assessed and taxed oil, gas and mineral rights

between approximately 1956 and 1987 and, even then, the County only assessed

such rights in a severed estate and where production or a valid basis to assess

existed. Therefore, there was no assessment of the severed Proctor Subsurface

Estate and it could not have been included in the tax assessment of the property

owned by CPLC.

      34.     The alleged 1908 tax sales and 1908 treasurer’s deeds did not pass

title to the Proctor Subsurface Estate, because the taxing authorities were duly

notified and/or aware of the severance of these rights from the surface estate and

because the County lacked a sufficient basis to value, assess, or tax the coal, oil,

gas, petroleum, and mineral rights; therefore, the Proctor Subsurface Estate was

not and could not be assessed for taxes and, instead, only the surface estate was

assessed and sold. Upon information and belief, such notice may not be of record,

because the County failed to keep records of unseated-land registration and/or the

records have been lost or destroyed due to flood, fire, natural disaster, theft, or

negligence.


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      35.    The tax sales at issue were void and without effect, because the

purchaser at the purported tax sale, C.H. McCauley, Jr., as an agent of the

defaulting party, the Central Pennsylvania Lumber Company (CPLC), had a legal

and moral obligation to pay the taxes for CPLC, and therefore, his purchase of the

property at the June 8, 1908 tax sales served as payment of the deficient taxes

and/or a redemption.

      36.    The 1908 tax deeds were never delivered to C.H. McCauley, Jr., and

he failed to record the 1908 tax deeds or register any interest with the tax assessor.

As such, C.H. McCauley, Jr. and his successors and assigns are estopped from

claiming that the 1908 tax sales and tax deeds conveyed any right, title or interest

in or to the Proctor Subsurface Estate in the property at issue.

      37.    C.H. McCauley, Jr. failed to ensure that the 1908 tax deeds were

recognized in open court; therefore, the purported deeds are void or invalid and no

changes in ownership to Proctor Subsurface Estate were effectuated by the 1908

tax sales and 1908 treasurer’s deeds.

      38.    Following the 1908 tax sale and tax deeds, the taxes for the property

continued to be assessed in the name of CPLC, demonstrating that the tax sales and

deeds had no impact on the ownership of the property.

      39.    CPLC made tax payments on taxes associated with the subject

property in December 1980 and 1909, and these payments operated as a


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redemption and/or otherwise demonstrate CPLC’s continued ownership of the

property and that the tax sales and deeds had no impact on the title to the property

or the Proctor Subsurface Estate.

      40.    CPLC, McCauley, Jr., and anyone claiming to be a successor to their

interests are estopped from acquiring a greater interest in the property as a result of

CPLC’s own failure to register its ownership of the surface estate to the taxing

authorities and failure to pay the assessed taxes.

      41.    CPLC, McCauley, Jr., and anyone claiming to be a successor to their

interests are estopped from acquiring a greater interest in the property by later

claiming CPLC fraudulently registered more than its actual ownership of the

surface estate to the taxing authorities and failure to pay the assessed taxes.

      42.    CPLC, and all of its successors in interest, are estopped from claiming

that the assessment of taxes included the Proctor Subsurface Estate, as CPLC had

not met its obligation to register its ownership of the surface property, which de

facto did not include the Proctor Subsurface Estate.

      43.    Because CPLC and McCauley, Jr. as its agent were not bona fide

purchasers at the time of the tax sale and subsequent quit-claim deed, they and any

parties who claim through them, could not acquire a greater interest in the property

as a result of CPLC’s own failure to pay the assessed taxes.




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         44.   Those contemporaneous parties familiar with the regular procedures

of unseated land assessments and taxation, including C.H. McCauley, Jr. and other

agents and affiliates of CPLC, made no claims of “title washing” against the

Proctor heirs and assigns or other owners of excepted-and-reserved coal, oil, gas,

petroleum, and mineral estates, so laches bars the Game Commission from

attempting to apply this “title-washing” theory post facto more than 106 years

later.

         45.   The alleged 1908 tax sales and 1908 treasurer’s deeds were void,

invalid, and passed no title to the Proctor Subsurface Estate, because the notice

provisions of the Act of 1815, on their face or as applied, violate the due process

rights of the heirs of Thomas E. Proctor and Emma H. Proctor as guaranteed by the

Fifth and Fourteenth Amendments to the United States Constitution.

         46.   The alleged 1908 tax sales and 1908 treasurer’s deeds are void,

invalid, and passed no title to the Proctor Subsurface Estate, because the

description of the property assessed and sold was legally deficient, in that it failed

to disclose and properly describe the nature and extent of the property involved.

         WHEREFORE, the MPT requests that the Court enter judgment in its favor

and against the Game Commission, enter an order declaring that the heirs of

Thomas E. Proctor are the rightful owners of the Proctor Subsurface Estate, and




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award the MPT attorneys’ fees and costs, and any other relief that it deems just and

appropriate.

                                 COUNTERCLAIM

      1.       A dispute exists between the Proctor Trusts and the Game

Commission as to the ownership of the oil, gas and mineral rights associated with

certain properties located in Sullivan and Bradford Counties.

      2.       In 1893, Thomas E. Proctor obtained title in fee to certain property

comprised, inter alia, of all or portions of thirty-nine warrants in the Warrantee

names of Robert Irwin, Francis Nichols, John Brady, Thomas Hamilton, Charles

Irwin, William Meylert #2, Henry Epple, Richard Parker, Thomas Rees, Charles

Williamson, William Steadman, Elizabeth Colt, Nathanial Colt, George Gearhart,

Mary Gearhart, Henry Lebo, James Tower, Jonathan Walker, Daniel Smith,

Samuel Young, Thomas Grant, Andrew Epple, Anthony Gearhart, William

Gearhart, Josiah Haines, Alexander Hunter, Levi James, Michael Meylert #1, Ann

F. Meylert, Michael Meylert #2, Willaim Meyert #1, Michael Meylert #3, Michael

Meylert #4, Isaac Kirk, Thomas Woodside, Mary Giffin, John James, Ezekial

Yarnall, and Archibald Evans and comprising the tract of lands subsequently

referred to by the Game Commission as State Game Lands No. 13. See Sullivan

County Deed Book 21, page 375.




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      3.     Similarly, between 1883 and 1893, Thomas E. Proctor and Jonathan

A. Hill obtained title in fee to land comprised, inter alia, of all or portions of

twenty-three warrants located in Bradford and Sullivan Counties in the Warrantee

names of John Betz, James Betz, Samuel Fritz, John Fritz, Jonathan Seeley, James

Hardy, Robert Hiltzheimer, Jacob Hiltzheimer, James Collins, George Eckhart,

William M. Biddle, George Glenworth, Richard (Robert) Erwin, Richard Fullerton,

John Baker, Henry Cooley, Aaron Fritz, Samuel Bryson, Robert Comely, Richard

Fullerton, John Patton, James Shoemaker, and Thomas Hiltzheimer, and

subsequently referred to by the Game Commission as State Game Lands No. 12.

See Bradford County Deed Book 152, page 291, Deed Book 169, page 326, Deed

Book 197, page 270; Sullivan County Deed Book 14, page 230, Deed Book 14,

page 233, Deed Book 14, page 658, Deed Book 17, page 463.

      4.     Similarly, in 1887, Thomas E. Proctor and Jonathan A. Hill obtained

title in fee to land comprised of three warrants located in Bradford County in the

Warrantee names of Peter Seeley, Jonathan Hampton and the west part of George

Castator, and subsequently referred to by the Game Commission as State Game

Lands No. 36. See Bradford County Deed Book 172, page 99.

      5.     State Game Lands Nos. 12, 13 and 36 are collectively referred to as

the “Disputed Property.”




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      A.     The Proctor Reservation

      6.     Thomas E. Proctor, along with several other entrepreneurs, formed the

United States Leather Company in the late 1800s. They acquired large tracts of

hemlock forest in north-central Pennsylvania and elsewhere, hemlock bark being a

key ingredient used in tanning leather. Proctor and the other entrepreneurs and

their heirs (the so-called “tanning families”) conveyed the surface of the acquired

land in Pennsylvania to subsidiaries of the United States Leather Company,

including Elk Tanning Company and Union Tanning Company, and reserved the

oil, gas and minerals to themselves and their heirs.

      7.     In 1894, prior to his death, Thomas E. Proctor and his wife conveyed

the surface estate of State Game Lands No. 13 to the Union Tanning Company,

excepting and reserving unto themselves, their heirs and assigns (the “Proctor

Heirs”) “all the minerals, coal, oil, gas or petroleum found on or under the surface

of the land.” October 30, 1894 Deed, recorded in Sullivan County Deed Book 24 at

page 53 (see page 57 for the Proctor Reservation).

      8.     Likewise, in 1894, Thomas E. Proctor, his wife, and Jonathan A. Hill

conveyed the surface estate of State Game Lands Nos. 12 and 36 to the Union

Tanning Company, excepting and reserving unto themselves, their heirs and

assigns “all the minerals, coal, oil, gas or petroleum found now or hereafter, on or

under the surface of any or all of the lands described.” October 27, 1894 Deed,


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recorded in Bradford County Deed Book 205, at page 436 (see page 448 for the

Proctor Reservation).

      9.     The minerals, coal, oil, gas or petroleum on or under the lands of the

Disputed Property are referred to as the “Proctor Subsurface Estate.” The

reservations of the Proctor Subsurface Estate for the Bradford County and Sullivan

County Properties are collectively referred to as the “Proctor Reservation.”

      10.    Following a tax sale of portions of State Game Lands No. 13 in 1896

the tax sale purchaser, O.B. Grant, who was an officer of Union Tanning

Company, conveyed the Proctor Subsurface Estate of those portions of State Game

Lands No. 13 to the Proctor Heirs and conveyed the surface estate of the property

to Union Tanning Company.

      11.    Upon information and belief, the 1896 tax sale was due to the

purported failure to pay the pre-severance taxes assessed against the entire

property.

      12.    Because O.B. Grant was an officer of Union Tanning and he

conveyed any purported interests in the property back to the Proctor Heirs prior to

the two-year redemption period, the tax sale purchase operated as a redemption,

returning all interests as they were prior to the tax sale.

      13.    By 1897, the Proctor Heirs had title to the Proctor Subsurface Estate

of the Disputed Property.


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      14.    The County taxing authorities were given notice of the Proctor

Reservation and the Proctor Heirs’ ownership of the Proctor Subsurface Estate.

      15.    In 1903, Union Tanning Company conveyed its ownership interest in

the surface estates of the Disputed Property to the Central Pennsylvania Lumber

Company (“CPLC”), a subsidiary of Central Leather Company that was later

merged into U.S. Leather. May 25, 1903 Deed, recorded in Sullivan County Deed

Book 29 at page 613; May 25, 1903 Deed, recorded in Bradford County Deed

Book 251 at page 520.

      16.    The 1903 Deeds excepted and reserved the bark rights of the Disputed

Property in favor of Union Tanning Company. See Sullivan County Deed Book

29, at page 620; Bradford County Deed Book 251 at page 523.

      17.    Upon information and belief, pursuant to the Act of March 28, 1806,

CPLC properly reported its interest in the surface estate only of the Disputed

Property to the taxing authorities.

      18.    Following the 1903 Deed, the taxes of the surface estate of the

Disputed Property were assessed in the name of CPLC, demonstrating that CPLC

informed the taxing authorities of its ownership of the surface estate of the

Disputed Property and that the registration and assessments were rightly done.

      19.    Taxes were never assessed against the Proctor Subsurface Estate of

the Disputed Property.


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      20.    Between 1896 and 1908, there was no production of oil or gas from

the Disputed Property.

      21.    Upon information and belief, there was no production or development

of oil or gas from lands neighboring the Disputed Property.

      22.    Prior to 1956, Sullivan County did not assess or tax oil, gas or other

mineral rights.

      23.    Upon information and belief, Bradford County did not assess or tax

oil, gas or other mineral rights between 1906 and 1910.

      B.     The Tax Sales

      24.    In 1906, the various warrants of the Disputed Property were assessed

in the name of CPLC.

      25.    Upon information and belief, in 1907, CPLC was reorganizing and, in

an effort to keep certain properties off its books, it purposefully did not pay taxes

on those certain properties and allowed them to go to tax sales. 1

      26.    In an apparent effort to maintain ownership of these properties, CPLC

had its agent Calvin H. McCauley, Jr. (“McCauley”) purchase the properties at the

tax sales.



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  Several of the warrants constituting the Disputed Property did not go through any
tax sale, including warrants in the name of the following warrantees: Jonathan
Seeley, Robert Hiltzheimer, James Collins, George Eckhart, George Glenworth,
and John Baker.
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         27.   On June 8, 1908, CPLC’s interests in the Disputed Property were

purportedly purchased by McCauley at tax sales in Sullivan County and Bradford

County.

         28.   During the relevant time period, McCauley served as an attorney and

a real estate agent for CPLC.

         29.   Upon information and belief, McCauley never previously and

explicitly renounced his agency prior to any tax sale purchase of CPLC’s interests.

         30.   McCauley never gave notice of his purported interests or recorded any

tax deeds associated with the Disputed Property.

         31.   In addition, despite the requirement of acknowledgement of tax deeds

in open court in order to effect any conveyance, all but two of the tax sale deeds

for State Game Lands Nos. 12 and 36 were not acknowledged in open court, even

though many other tax sales deeds of different properties were acknowledged in

court.

         32.   Upon information and belief, the tax sale deeds for State Game Lands

No. 13 were not acknowledged in open court.

         33.   In December 1908, after the purported tax sales, CPLC paid the taxes

on the surface estate of the Disputed Property.

         34.   Similarly, in 1909, CPLC paid the taxes on the surface estate of the

Disputed Property.


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      35.   Upon information and belief, the tax payments made by CPLC

exceeded the amount necessary to redeem the Disputed Property.

      36.   After the two-year period for redemption ran, McCauley re-conveyed

the very same interests back to CPLC via quit-claim deeds in 1910.

      37.   Between the tax sales in June 1908 and the 1910 quit-claim deeds, the

Sullivan County and Bradford County taxing authorities continued to assess and

return the Disputed Property in the name of CPLC.

      C.    Post-Tax Sale Transactions Demonstrate that CPLC and the
            Game Commission Did Not Believe that the Tax Sales “Washed”
            the Proctor Subsurface Estate
      38.   CPLC did not believe that it acquired the Proctor Subsurface Estate as

a result of the 1908 tax sales and/or the 1910 quit-claim deeds from McCauley. In

fact, in 1930 CPLC went on to sell the surface estate of State Game Lands No. 12

expressly subject to the Proctor Reservation.

      39.   Specifically, the deed from CPLC to the Game Commission

conveying the surface estate of State Game Lands No. 12 was expressly subject to

the Proctor Reservation:

      conveyance is made under and subject to the exception and
      reservation of all minerals, coal, oil, gas or petroleum found now or
      hereafter on or under the surface of any or all of the lands above
      described…as fully as the said minerals and rights were excepted and
      reserved in the three following deeds, viz: (a) Deed from Thomas E.
      Proctor and others to the Union Tanning Company, dated October 27,
      A.D. 1894, recorded in said Bradford County in Deed Book 205, page
      436 and in said Sullivan County in Deed Book 24, page 59.

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September 23, 1930 Deed recorded at Bradford County Deed Book 376, page 99.

      40.    Similarly, the deed from CPLC to the Game Commission conveying

State Game Lands No. 36 in 1930 excepted and reserved “unto the proper owners

thereof all oil, gas, coal and other minerals in, under and upon the two tracts herein

described as excepted and reserved in prior deeds of record….” December 17,

1930 Deed recorded at Bradford County Deed Book 377, at page 211.

      41.    In addition, the evidence reveals that CPLC did not believe that the

1908 tax sale had any effect on either the Proctor Reservation or Union Tanning’s

1903 reservation of bark rights.

      42.    In 1921, Elk Tanning, Union Tanning’s successor through merger,

deeded over the previously reserved bark rights for State Game Lands No. 13 so

that CPLC could convey the entire surface estate to the Game Commission. See

January 26, 1921 Deed recorded at Sullivan County Deed Book 41, page 28.

      43.    In 1924, CPLC conveyed its interests in State Game Land No. 13 to

the Game Commission. See December 31, 1924 Deed recorded at Sullivan County

Deed Book 42, at page 538.

      44.    Likewise, in 1924, Elk Tanning, conveyed the previously reserved

bark rights for State Game Lands Nos. 12 and 36 to CPLC. See December 30,

1924 Deed recorded at Bradford County Deed Book 365, page 165.




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      45.    In 1930, CPLC conveyed its interests in State Game Land Nos. 12 and

36 to the Game Commission. See September 23, 1930 Deed recorded at Bradford

County Deed Book 376, page 99 (State Game Land No. 12); December 17, 1930

Deed recorded at Bradford County Deed Book 377, at page 208 (State Game Land

No. 36).

      46.    In addition, the Game Commission has openly acknowledged that it

does not own the oil, gas and mineral rights associated with the bulk of the

Pennsylvania State Game Lands due to the severance of the subsurface rights.

      47.    Upon information and belief, the Game Commission has only recently

asserted any claim to title washing of the Proctor Subsurface Estate.

      48.    In fact, the Game Commission recently entered into a lease to permit

the drilling of wells in State Game Lands Nos. 12 and 36, prompting this

counterclaim.

                            COUNT I – QUIET TITLE

      49.    The Proctor Trusts hereby incorporate by reference the allegations set

forth in the foregoing paragraphs as though fully set forth herein.

      50.    The Proctor Trusts seek to quiet title to the oil and gas rights of the

Disputed Property to remove any cloud on their title to the Disputed Property that

has been created by the Game Commission’s actions.




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      51.    The Proctor Trusts hold title to the natural gas and oil contained in the

Disputed Property as set forth above.

      52.    There is a cloud on the Proctor Trusts’ title to the oil and gas rights in

the Disputed Property due to the actions taken by the Game Commission.

      53.    The Game Commission has made claims to ownership or has

attempted to convey interests in the oil and gas associated with the Disputed

Property.

      54.    The 1908 tax sales and tax deeds did not affect the title of the Proctor

Heirs (including the Trusts) because the alleged outstanding taxes on the subject

properties were paid by an agent of CPLC, which effectuates a legal “redemption”

confirming ownership of the Proctor Subsurface Estate by the Proctor Heirs.

      55.    The 1908 tax sales and tax deeds did not affect the title of the Proctor

Heirs (including the Trusts) because the Proctor Heirs did not receive notice and an

opportunity to be heard.

      56.    The 1908 tax sales and tax deeds did not affect the title of the Proctor

Heirs (including the Trusts) because the Tax Deeds were the product of fraud.

      57.    The 1908 tax sales and tax deeds did not affect the title of the Proctor

Heirs (including the Trusts) because the County lacked a sufficient basis to value,

assess, or tax the natural gas or oil rights, since upon information and belief, at no

time prior to the purported tax sales commenced was natural gas or oil produced


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from the subject property or from properties in the nearby area nor was natural gas

or oil known to exist in commercially significant quantities in the subject property

or in properties in the nearby area.

      58.    The 1908 tax sales and tax deeds did not affect the title of the Proctor

Heirs (including the Trusts) because the interest, right and title of the heirs of

Thomas E. Proctor was severed approximately fourteen years prior to the 1908 Tax

Sales and reported to the assessor.

      59.    Neither CPLC nor McCauley believed the transactions “washed” the

Subsurface Estate and vested the separate Subsurface Estate of its shareholders in

CPLC. In fact, the quit claim deeds to CPLC do not reference having acquired

any additional subsurface interests and the deed conveying the surface of the

Bradford County Property to the Game Commission is made expressly subject to

the Proctor Reservation.

      60.    CPLC and its successors in title, including the Game Commission, are

bound by the prior reservations in the chain of title, and are estopped from

claiming title to the Proctor Subsurface Estate.

      61.    CPLC and McCauley, Jr. are estopped from acquiring a greater

interest in the property as a result of CPLC’s own failure to register its ownership

of the surface estate to the taxing authorities and failure to pay the assessed taxes.




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      62.    CPLC, and all of its successors in interest, are estopped from claiming

that the assessment of taxes included the Proctor Subsurface Estate as CPLC had

the obligation to register its ownership of the property less the Proctor Subsurface

Estate.

      63.    Because CPLC and McCauley, as its agent, were not bona fide

purchasers at the time of the tax sale and subsequent quit-claim deed, they and any

parties who claim through them, could not acquire a greater interest in the property

as a result of CPLC’s own failure to pay the assessed taxes.

      64.    The alleged 1908 tax sales and 1908 treasurer’s deeds were void,

invalid, and passed no title to the Proctor Subsurface Estate, because the notice

provisions of the Act of 1815, on their face or as applied, violate the due process

rights of the Proctor Heirs as guaranteed by the Fifth and Fourteenth Amendments

to the United States Constitution.

      65.    The Proctor Trusts seek a determination that title to the oil and gas

rights of the Disputed Property is vested in them.

                           COUNT II - CONVERSION

      66.    The Proctor Trusts incorporate by reference the foregoing paragraphs

as though fully set forth herein.




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      67.    Upon information and belief, the Game Commission has intentionally

deprived the Proctor Trusts of their right to the natural gas underlying the Disputed

Property through the production and sale of gas from the Disputed Property.

      68.    The Game Commission has permitted or enabled the production of

natural gas from the Disputed Property without the Proctor Trusts’ consent and

without lawful justification.

      69.    The Proctor Trusts have suffered damages as a result of the

unauthorized production and sale of natural gas from the Disputed Property in an

amount to be determined at trial.

                     COUNT III - UNJUST ENRICHMENT

      70.    The Proctor Trusts incorporate by reference the foregoing paragraphs

as though fully set forth herein.

      71.    The Game Commission have been unjustly enriched as a result of

benefits appropriated from the Proctor Trusts.

      72.    The Game Commission has received benefits or compensation in

connection with the extraction of natural gas from the Disputed Property.

      73.    The Game Commission has appreciated and been enriched by such

benefits that rightfully belong to the Proctor Trusts.

      74.    The retention of such benefits by the Game Commission is inequitable

and unjust and has substantially damaged the Proctor Trusts.


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                              PRAYER FOR RELIEF
      WHEREFORE, the Proctor Trusts demand judgment in their favor and
against the Game Commission as follows:
      (i)     That the Court enter an order declaring that the Proctor Trusts are the
rightful owners of all the natural gas, coal, oil, petroleum, marble and all minerals
of every kind and character in, upon, or under the Disputed Property;

      (ii)    That the Court enter judgment against the Game Commission and in
favor of the Proctor Trusts for all compensatory and punitive damages incurred as
a result of the Game Commission’s actions, including, without limitation, the total
amount of all benefits which have accrued to the Game Commission and/or which
inured in any manner to the Game Commission as a result of the production of gas
from the Disputed Property;

      (iii)   That the Court enter judgment against the Game Commission for
prejudgment interest and costs; and
      (iv)    That the Court grant such other relief as it shall deem just and
equitable under the circumstances.
      The Proctor Trusts demand a jury trial on all claims so triable.


Dated: December 1, 2016                        Respectfully submitted,

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                        CERTIFICATE OF SERVICE
      The undersigned hereby certifies that a true and correct copy of the
foregoing document has been served upon the following via the Court’s CM/ECF

system, this 1st day of December 2016:

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                                      /s/ Laura A. Lange




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